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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


BARBARA J. WALKER,

                        Plaintiff,                 Civil Action No. 1:04CV01991 (RMU/JMF)
                                                   Judge Ricardo M. Urbina
                 v.                                Magistrate Judge John M. Facciola
PHARMACEUTICAL RESEARCH AND
MANUFACTURERS OF AMERICA, et al.,

                       Defendants.

         DEFENDANT NEW YORK LIFE INVESTMENT MANAGEMENT, LLC’S
                    MOTION FOR SUMMARY JUDGMENT

         Defendant New York Life Investment Management, LLC (“NYLIM”), by and through its

undersigned counsel, hereby moves this Court for an order entering judgment in its favor

pursuant to Federal Rule of Civil Procedure 56 and Local Rule 56.1. In support of its motion,

NYLIM states as follows:

         1.      NYLIM is entitled to summary judgment on the ground that Plaintiff’s remaining

ERISA claims are legally and factually unsupported. There is no material factual dispute that

NYLIM is not the administrator of the Pharmaceutical Research and Manufacturers of America

Retirement Plan (the “Plan”) and that Plaintiff has never made a request on NYLIM for any

documents covered by the disclosure and reporting provisions of the Employee Retirement

Income Security Act of 1974, as amended (“ERISA”), 29 U.S.C. §§ 1101-1105 et seq.

         2.      There is no legal dispute that ERISA § 502(c), the enforcement and penalty arm

of ERISA’s disclosure and reporting provisions, only applies to plan administrators who fail to

respond or comply with a participant’s request for information. As NYLIM is not the Plan

administrator and has never received a request for documents from Plaintiff, it cannot be liable

under ERISA § 502(c).


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         3.      Plaintiff has suffered no harm or prejudice by any alleged failure of NYLIM to

provide her with documents.

         In further support of this motion, NYLIM relies on the accompanying Memorandum of

Points and Authorities and Exhibits.

                                                     Respectfully submitted,

Dated: August 10, 2009                               By:                     /s/
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